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11    LLC
12   [Additional counsel listed on signature page]
13
                                  UNITED STATES DISTRICT COURT
14
                               NORTHERN DISTRICT OF CALIFORNIA
15
                                       SAN FRANCISCO DIVISION
16
      IN RE GOOGLE PLAY DEVELOPER                    Case No. 3:20-cv-05792-JD
17
      ANTITRUST LITIGATION
                                                     DEVELOPER PLAINTIFFS’ NOTICE
18
                                                     OF FILING OF CORRECTED
                                                     DOCUMENTS RELATING TO
19
                                                     MOTION FOR ATTORNEYS’ FEES,
                                                     REIMBURSEMENT OF EXPENSES,
20
                                                     AND SERVICE AWARDS
21
                                                     Hon. James Donato
22

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                DEVELOPER PLAINTIFFS’ NOTICE OF FILING OF CORRECTED DOCUMENTS
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 1          On March 1, 2023, Developer Plaintiffs (“Plaintiffs”) submitted their Motion for Attorneys’

 2   Fees, Reimbursement of Expenses, and Service Awards, as well as supporting declarations. See ECF

 3   No. 240. During a subsequent audit, it became apparent that an accounting error caused several

 4   expert invoices to be excluded from Developer Plaintiffs’ tabulation of expenses, for which

 5   reimbursement is sought. The corrected documents filed herewith include the inadvertently omitted

 6   expenses and provide the correct expense total of $5,916,010.30, along with all supporting invoices.

 7   Developer Plaintiffs have also corrected certain computational errors along with formatting in their

 8   Motion for Attorneys’ Fees, Reimbursement of Expenses, and Service Awards to adhere to the 15-

 9   page limit. Developer Plaintiffs have not otherwise modified the accompanying corrected

10   documents. The corrected documents filed herewith replace the documents previously filed at ECF

11   Nos. 240, 240-1, 240-1 Ex. 4, 240-1 Ex. 5, 240-1 Ex. 6, and 240-10.

12
     Dated: March 6, 2023                         Respectfully submitted,
13
                                                  By      /s/ Steve W. Berman
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                                                  By s/ Melinda R. Coolidge
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                                      Settlement Counsel
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